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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                                 Plaintiff,          )      No. MJ09-437
            v.                                         )
 9                                                     )      DETENTION ORDER
     ELADIO CRUZ BARAJAS,                              )
10                                                     )
                                   Defendant,          )
11                                                     )

12 Offense charged:

13          Conspiracy to Manufacture Marijuana.

14 Date of Detention Hearing: September 1, 2009.

15          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16 based upon the factual findings and statement of reasons for detention hereafter set forth, finds that

17 no condition or combination of conditions which the defendant can meet will reasonably assure the

18 appearance of the defendant as required and the safety of any other person and the community.

19               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          Defendant is charged by complaint filed in the District of Oregon. The Court was not

21 presented with any information about his personal history, health, education, financial resources

22 residence, family ties or ties to this District. Defendant has a state court drug offense pending and

23 an active warrant for his arrest in that matter. According to the United States, defendant is not a


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 1 legal resident of this country.

 2         It is therefore ORDERED:

 3         (1)     Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable, from

 5 persons awaiting or serving sentences, or being held in custody pending appeal;

 6         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8         (3)     On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined shall

10 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

11 with a court proceeding; and

12         (4)     The clerk shall direct copies of this order to counsel for the United States, to

13 counsel for the defendant, to the United States Marshall, and to the United States Pretrial Services

14 Officer.

15         DATED this 1st day of September, 2009.

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17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
